Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 1 of 89 PageID: 188
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 2 of 89 PageID: 189
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 3 of 89 PageID: 190
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 4 of 89 PageID: 191
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 5 of 89 PageID: 192
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 6 of 89 PageID: 193
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 7 of 89 PageID: 194
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 8 of 89 PageID: 195
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 9 of 89 PageID: 196
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 10 of 89 PageID: 197
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 11 of 89 PageID: 198
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 12 of 89 PageID: 199
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 13 of 89 PageID: 200
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 14 of 89 PageID: 201
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 15 of 89 PageID: 202
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 16 of 89 PageID: 203
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 17 of 89 PageID: 204
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 18 of 89 PageID: 205
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 19 of 89 PageID: 206
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 20 of 89 PageID: 207
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 21 of 89 PageID: 208
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 22 of 89 PageID: 209
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 23 of 89 PageID: 210
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 24 of 89 PageID: 211
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 25 of 89 PageID: 212
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 26 of 89 PageID: 213
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 27 of 89 PageID: 214
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 28 of 89 PageID: 215
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 29 of 89 PageID: 216
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 30 of 89 PageID: 217
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 31 of 89 PageID: 218
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 32 of 89 PageID: 219
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 33 of 89 PageID: 220
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 34 of 89 PageID: 221
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 35 of 89 PageID: 222
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 36 of 89 PageID: 223
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 37 of 89 PageID: 224
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 38 of 89 PageID: 225
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 39 of 89 PageID: 226
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 40 of 89 PageID: 227
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 41 of 89 PageID: 228
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 42 of 89 PageID: 229
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 43 of 89 PageID: 230
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 44 of 89 PageID: 231
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 45 of 89 PageID: 232
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 46 of 89 PageID: 233
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 47 of 89 PageID: 234
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 48 of 89 PageID: 235
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 49 of 89 PageID: 236
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 50 of 89 PageID: 237
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 51 of 89 PageID: 238
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 52 of 89 PageID: 239
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 53 of 89 PageID: 240
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 54 of 89 PageID: 241
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 55 of 89 PageID: 242
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 56 of 89 PageID: 243
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 57 of 89 PageID: 244
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 58 of 89 PageID: 245
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 59 of 89 PageID: 246
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 60 of 89 PageID: 247
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 61 of 89 PageID: 248
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 62 of 89 PageID: 249
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 63 of 89 PageID: 250
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 64 of 89 PageID: 251
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 65 of 89 PageID: 252
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 66 of 89 PageID: 253
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 67 of 89 PageID: 254
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 68 of 89 PageID: 255
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 69 of 89 PageID: 256
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 70 of 89 PageID: 257
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 71 of 89 PageID: 258
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 72 of 89 PageID: 259
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 73 of 89 PageID: 260
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 74 of 89 PageID: 261
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 75 of 89 PageID: 262
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 76 of 89 PageID: 263
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 77 of 89 PageID: 264
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 78 of 89 PageID: 265
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 79 of 89 PageID: 266
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 80 of 89 PageID: 267
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 81 of 89 PageID: 268
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 82 of 89 PageID: 269
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 83 of 89 PageID: 270
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 84 of 89 PageID: 271
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 85 of 89 PageID: 272
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 86 of 89 PageID: 273
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 87 of 89 PageID: 274
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 88 of 89 PageID: 275
Case 2:11-cr-00299-WJM   Document 21   Filed 08/15/11   Page 89 of 89 PageID: 276
